 Case 1:18-cv-24698-MGC Document 19-2 Entered on FLSD Docket 04/29/2019 Page 1 of 6




                                         SETILEMENT, RELEASE AND
                                        NON-DISCLOSURE AGREEMENT

               THIS SETILEMENT, RELEASE AND NON-DISCLOSURE AGREEMENT
        (hereinafter referred to as the "Agreement") is made and entered into by and between MARCELO
        A. ARRILLAGA and WILFREDO TORRES ESTRADA, (hereinafter "Plaintiffs" or
        "Employees"), and SMART BUY FURNITURE, INC., GIANCARLO TORRES, SARRA
        TORRES, and NADIA ESCOTO, (hereinafter collectively referred to as "Defendants").

                                                WITNESSETH:

                WHEREAS, Plaintiffs filed a civil action against Defendants which was removed to the
        United States District Court, Southern District of Florida, to which case number 18-CV-24698-
        COOKE/GOODMAN was assigned (hereinafter referred to as the "civil action"), and in which
        Plaintiff alleged claims, under the Fair Labor Standards Act, 29 U.S.C. § 201, et. seq.

                WHEREAS, Defendants deny Plaintiffs' claims;

              WHEREAS, Plaintiffs and Defendants desire to avoid incurring further costs of litigation,
       and seek to resolve all matters in controversy, disputes, and causes of action between them in an
       amicable fashion;

              WHEREAS, Plaintiffs and Defendants have reached a full and final compromise and
       settlement of all matters, causes of action, claims and contentions between them; and

             WHEREAS, Plaintiffs acknowledges that any payment received pursuant to this
       Agreement constitutes consideration which he would not otherwise be entitled to receive from
       Defendants.

               NOW THEREFORE, in consideration of the mutual covenants and promises herein
       contained and other good and valuable consideration, the sufficiency of which is hereby
       acknowledged, and to avoid unnecessary litigation, it is hereby agreed by and between the parties
       as follows:

               1.      This Agreement, and compliance with this Agreement, shall not be construed as an
       admission by Defendants of any liability whatsoever, or as an admission by Defendants of any
       violation of the rights of Plaintiffs or any other person, or of any violation of any order, law, statute,
       regulation, duty, or contract, or any act of discrimination whatsoever against Plaintiffs or any other
       person, and Defendants specifically disclaim any liability to, or discrimination against Plaintiffs
       or any other person, and any alleged violation of any rights of Plaintiffs or any other person, or of
       any order, law, statute, regulation, duty or contract.

               2.      Plaintiffs agree that they shall take all necessary actions to execute, serve and file
       all documents and pleadings necessary to dismiss the civil action with prejudice. Plaintiff expressly
       confirms that the Action will be voluntarily dismissed in its entirety with prejudice, upon the Court
       approving the settlement and entering an order retaining jurisdiction to enforce Defendants'
       obligations to make payments.


       363393                                          1

H·IJ
Case 1:18-cv-24698-MGC Document 19-2 Entered on FLSD Docket 04/29/2019 Page 2 of 6




               3.      In full settlement of all claims including attorney' s fees and costs, Defendants agree
       to pay Plaintiffs and their attorney the total sum of Twenty Thousand 00/ 100 Dollars ($20,000.00) 1
       apportioned as follows:

               A. No later than April 15, 2019, Defendants shall pay a total sum of Three Thousand Two
                  Hundred and Fifty Dollars 00/100 Dollars ($3,250.00);

                      a. To Wilfredo Estrada the sum of Eight Hundred and Twelve Dollars 50/100
                         Dollars ($812.50) representing wages

                      b. To Wilfredo Estrada the sum of Eight Hundred and Twelve Dollars 50/ 100
                         Dollars ($812.50) representing liquidated damages

                      c. To Marcelo Arrillaga the sum of Eight Hundred and Twelve Dollars 50/100
                         Dollars ($812.50) representing wages

                      d. To Marcelo Arrillaga the sum of Eight Hundred and Twelve Dollars 50/ 100
                         Dollars ($812.50) representing liquidated damages

               B. No later than May 15, 2019, Defendants shall pay a total sum of Three Thousand Two
                  Hundred and Fifty Dollars 00/100 Dollars ($3 ,250.00);

                      a. To Wilfredo Estrada the sum of Nine Hundred and Thirty Seven Dollars 50/ 100
                         Dollars ($937.50) representing wages

                      b. To Wilfredo Estrada the sum of Nine Hundred and Thirty Seven Dollars 50/ 100
                         Dollars ($937.50) representing liquidated damages

                      c. To Marcelo Arrillaga the sum of Six Hundred and Eighty Seven Dollars 50/ 100
                         Dollars ($687.50) representing wages

                      d. To Marcelo Arrillaga the sum of Six Hundred and Eighty Seven Dollars 50/ 100
                         Dollars ($687.50) representing liquidated damages

               C. No later than June 15, 2019, Defendants shall pay a total sum of Two Thousand Two
                  Hundred and Fifty Dollars 00/100 Dollars ($2,250.00);

                      a. To Marcelo Arrillaga the sum of Five Hundred and Sixty Two Dollars 50/100
                         Dollars ($562.50) representing wages

                     b. To Marcelo Arrillaga the sum of Five Hundred and Sixty Two Dollars 50/100
                        Dollars ($562.50) representing liquidated damages

                     c. To Employees' Counsel, "Law Offices of Christopher F. Zacarias, P.A.", the
                        sum of One Thousand One Hundred and Twenty Five 00/ 100 Dollars



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        Wilfredo Torres Estrada shall receive a total sum of$3,500.00, Marcelo Arrillaga shall receive a
      total sum of$9,000.00. The total amount of attorney's fees and costs is a total of $7,500.00

      363393                                         2


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Case 1:18-cv-24698-MGC Document 19-2 Entered on FLSD Docket 04/29/2019 Page 3 of 6




                          ($1,125.00) representing reasonable attorney's fees and costs incurred in this
                          action.

               D. No later than July 15, 2019, Defendants shall pay a total sum of Two Thousand Two
                  Hundred and Fifty Dollars 00/100 Dollars ($2,250.00);

                      a. To Marcelo Arrillaga the sum of Five Hundred and Sixty Two Dollars 50/100
                         Dollars ($562.50) representing wages

                      b. To Marcelo Arrillaga the sum of Five Hundred and Sixty Two Dollars 50/100
                         Dollars ($562.50) representing liquidated damages

                      c. To Employees' Counsel, "Law Offices of Christopher F. Zacarias, P.A.", the
                         sum of One Thousand One Hundred and Twenty Five 00/100 Dollars
                         ($1,125.00) representing reasonable attorney's fees and costs incurred in this
                         action.

               E. No later than August 15, 2019, Defendants shall pay a total sum of Two Thousand Two
                  Hundred and Fifty Dollars 00/100 Dollars ($2,250.00);

                      a. To Marcelo Arrillaga the sum of Five Hundred and Sixty Two Dollars 50/100
                         Dollars ($562.50) representing wages

                      b. To Marcelo Arrillaga the sum of Five Hundred and Sixty Two Dollars 50/100
                         Dollars ($562.50) representing liquidated damages

                      c. To Employees' Counsel, "Law Offices of Christopher F. Zacarias, P.A.", the
                         sum of One Thousand One Hundred and Twenty Five 00/100 Dollars
                         ($1,125.00) representing reasonable attorney's fees and costs incurred in this
                         action.

               F. No later than September 15, 2019, Defendants shall pay a total sum of Two Thousand
                  Two Hundred and Fifty Dollars 00/100 Dollars ($2,250.00);

                      a. To Marcelo Arrillaga the sum of Five Hundred and Sixty Two Dollars 50/100
                         Dollars ($562.50) representing wages

                      b. To Marcelo Arrillaga the sum of Five Hundred and Sixty Two Dollars 50/ 100
                         Dollars ($562.50) representing liquidated damages

                     c. To Employees' Counsel, "Law Offices of Christopher F. Zacarias, P.A.", the
                        sum of One Thousand One Hundred and Twenty Five 00/100 Dollars
                        ($1,125.00) representing reasonable attorney's fees and costs incurred in this
                        action.

               G. No later than October 15, 2019, Defendants shall pay a total sum of Two Thousand
                  Two Hundred and Fifty Dollars 00/100 Dollars ($2,250.00);

                     a. To Marcelo Arrillaga the sum of Five Hundred and Sixty Two Dollars 50/100
                        Dollars ($562.50) representing wages

      363393                                       3
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Case 1:18-cv-24698-MGC Document 19-2 Entered on FLSD Docket 04/29/2019 Page 4 of 6




                      b. To Marcelo Arrillaga the sum of Five Hundred and Sixty Two Dollars 50/100
                         Dollars ($562.50) representing liquidated damages

                      c. To Employees' Counsel, "Law Offices of Christopher F. Zacarias, P.A.", the
                         sum of One Thousand One Hundred and Twenty Five 00/100 Dollars
                         ($I, I 25 .00) representing reasonable attorney's fees and costs incurred in this
                         action.

               H. No later than November 15, 2019, Defendants shall pay a total sum of Two Thousand
                  Two Hundred and Fifty Dollars 00/100 Dollars ($2,250.00);

                      a. To Marcelo Arrillaga the sum of One Hundred and Eighty Seven Dollars 50/100
                         Dollars ($187.50) representing wages

                      b. To Marcelo Arrillaga the sum of One Hundred and Eighty Seven Dollars 50/100
                         Dollars ($187.50) representing liquidated damages

                      c. To Employees' Counsel, "Law Offices of Christopher F. Zacarias, P.A.", the
                         sum of One Thousand Eight Hundred and Twenty Five 00/100 Dollars
                         ($ I ,875.00) representing reasonable attorney's fees and costs incurred in this
                         action.


              4.      The parties warrant that they will not disclose, communicate, disseminate and/or
      publicize, or cause or permit to be disclosed, communicated, disseminated or publicized the
      existence of or terms and conditions of this Agreement or its underlying facts, directly or indirectly,
      specifically or generally, to any person, business, organization, corporation, association,
      governmental agency, except as follows: (1) to the extent necessary to report income to appropriate
      taxing authorities; (2) to his attorney(s) and accountant(s); (3) in response to requirements oflaw
      or a subpoena issued by a state or federal court or governmental agency.

              The parties further acknowledge that if either party is asked about the civil action, they
      may only respond that the "matter was amicably resolved," or that the "matter has been settled to
      the parties' mutual satisfaction," or other words to that effect.

              5.      The Parties hereby mutually unconditionally and irrevocably release and forever
      discharge each other (which terms shall collectively include all past and present parents, successors
      in interest and assigns, affiliates, subsidiaries, divisions, departments, wholly-owned corporations
      or partnerships, business associations, sole proprietorships, and its/their current or former officers,
      directors, stockholders, members, employees, agents, representatives, attorneys, fiduciaries,
      administrators, or partners, in their individual capacities) of and from, and agree not to sue and not
      to assert against either Party, any causes of action, claims and demands whatsoever, known or
      unknown, at law, in equity, or before any agency or commission of local, state and federal
      governments, arising, alleged to have arisen, or which might have been alleged to have arisen, or
      which may arise under any law, and statutes and laws of contract and torts that either has or had
      behalf of himself/itself and on behalf of persons/entities similarly situated, ever had, now has or
      which the Parties heirs, executors, administrators, or assigns, or any of them, hereafter can, shall
      or may have for or by reason of any cause whatsoever, through the effective date of this


      363393                                         4
Case 1:18-cv-24698-MGC Document 19-2 Entered on FLSD Docket 04/29/2019 Page 5 of 6




       Agreement. The release is intended to Release Plaintiff from any and all non-compete agreements.
       This release does not release Parties of their obligations under this Agreement.

               6.      The parties represent and agree that they have thoroughly discussed all aspects of
       this Agreement with their respective attorneys and have carefully read and fully understand all of
       the provisions of this Agreement, and that they are voluntarily entering into this Agreement.
       Plaintiff represents that this agreement has been translated to Spanish.

              7.      The parties hereto represent and acknowledge that in executing this Agreement,
      they do not rely and have not relied on any representation or statement made by any of the parties
      or by any of the parties' agents, representatives, or attorneys with regard to the subject matter,
      basis, or effect of this Agreement or otherwise other than those specifically stated in this written
      Agreement.

              8.       Any breach of any term, provision, or obligation of this Agreement by any party,
      shall entitle the other to seek enforcement of such term, provision or obligation in a court of law
      of competent jurisdiction, and shall entitle the prevailing party to an award of the reasonable
      attorney's fees and costs incurred in such proceeding.

               9.      Should any provision of this Agreement be declared or be determined by any court
      of competent jurisdiction to be illegal, invalid, unethical or unenforceable, the legality, validity
      and enforceability of the remaining parts, terms or provisions shall not be affected thereby, and
      said illegal, invalid, unethical or unenforceable term, or provision shall be deemed not to be part
      of this Agreement.

             10.    The parties to this Agreement may execute their signatures in counterpart, each
      document of which may be considered as an original when executed. A facsimile signature shall
      be deemed to be an original.

              1I.    This Agreement may not be modified, altered or changed except upon express
      written consent of both parties wherein specific reference is made to this Agreement.

               12.     This Agreement shall be binding upon the parties hereto and upon their heirs,
      administrators, representatives, executors, divisions, parents, subsidiaries, parents' subsidiaries,
      affiliates, partners, limited partners, successors and assigns, and shall inure to the benefit of said
      parties and each of them and to their heirs, administrators, representatives, executors, divisions,
      parents, subsidiaries, parents' subsidiaries, affiliates, partners, limited partners, successors and
      assigns. Plaintiff expressly warrants that they have not transferred to any person or entity any rights
      or causes of action, or claims released by this Agreement.

              13.     This Agreement sets forth the entire agreement between the parties hereto, and fully
      supersedes any prior agreements or understandings between the parties. Plaintiff acknowledges
      that they have not relied on any representations, promises, or agreements of any kind made to
      Plaintiff in connection with their decision to accept this Agreement, except for those set forth in
      this Agreement.

            14.   The Parties agree that this Court retains jurisdiction to enforce the terms of this
      Agreement. THE PARTIES AGREE TO WAIVE ANY RIGHT TO TRIAL BY JURY IN

      363393                                         5
Case 1:18-cv-24698-MGC Document 19-2 Entered on FLSD Docket 04/29/2019 Page 6 of 6




       ANY ENFORCEMENT PROCEEDING, ACTION, OR LITIGATION ARISING OUT OF,
       DffiECTLY OR INDIRECTLY, THIS AGREEMENT.

               15.    The parties expressly acknowledge and agree that this Agreement and the payment
       of the sums provided in paragraph 3 is contingent upon the entry of an Order from the Court
       dismissing the civil action with prejudice.

            16.  TIME IS OF THE ESSENCE WITH RESPECT TO ALL MATTERS
       CONTAINED HEREIN.

              IN WITNESS WHEREOF, the parties hereto knowingly and voluntarily executed this
       Settlement Agreement and General Release as of the date(s) set forth below:


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               Date                                                            LLAGA
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               Date                                      SMART BUY FURNITURE, INC


               Date                                      SARRA TORRES


               Date                                      NADIA ESCOTO


               Date                                      GIANCARLO TORRES




      363393                                     6
